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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

    UNITED STATES OF AMERICA and
    the States of ARKANSAS, COLORADO,
    ILLINOIS, INDIANA, LOUISIANA,
    NEW MEXICO, OKLAHOMA,                               Civil Action No. 3:19-cv-01238-E
    TENNESSEE, and TEXAS ex rel.
    MICHAEL CARTER,

                   Plaintiffs,

    v.

    EMERGENCY STAFFING
    SOLUTIONS, INC.; HOSPITAL CARE
    CONSULTANTS, INC.,

                   Defendants.

                     UNITED STATES’ STATEMENT OF INTEREST
                   REGARDING DEFENDANTS’ MOTION TO DISMISS

            The United States of America respectfully submits this Statement of Interest

pursuant to the False Claims Act (FCA), 31 U.S.C. §§ 3729–3733, and 28 U.S.C. § 5171

to address Defendants’ assertions in their Motion to Dismiss regarding: (1) the

significance of the government’s decision not to intervene in this qui tam action; and (2)

the allegations necessary to establish the element of intent under the Anti-Kickback

Statute (AKS), 42 U.S.C. § 1320a-7b(b). ECF No. 44. First, Defendants assert that the


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  Although the United States has not intervened in this action, it remains the real party in interest, entitled
to share in any recovery that may be obtained. See 31 U.S.C. § 3730(d); United States ex rel. Eisenstein
v. City of New York, New York, 556 U.S. 928, 934 (2009). Because the FCA is the United States’ primary
civil tool for prosecuting fraud against the government, the United States also has a substantial interest in
the development of law in this area. See United States ex rel. Doe v. Staples, Inc., 773 F.3d 83, 84 (D.C.
Cir. 2014) (citing S.Rep. No. 99–345, at 2, 4 (1986)).


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Court should consider the United States’ decision not to intervene in this qui tam case as

evidence that the government “found” that Defendants did not violate the FCA, AKS, and

the Stark Law, 42 U.S.C. § 1395nn. Id. at 2–3. But the United States’ decision not to

intervene in this case—or any case—does not mean that the United States found that

Defendants did not violate the FCA, AKS, or Stark. Second, Defendants’ Motion seems

to suggest that the AKS prohibits the offering or paying of remuneration only where the

sole or unequivocal purpose of the payment is to induce referrals. Id. at 8–9. But to the

contrary, and as Defendants elsewhere acknowledge in the Motion, an individual or entity

violates the AKS even where only “one purpose” of the alleged remuneration is to induce

referrals. See id. at 8. The United States addresses each point herein but takes no

position on any other issue raised in the Motion or whether dismissal should be granted

or denied.

                                I.       Argument and Authorities

        1.      The government’s decision not to intervene does not mean the United
                States determined that the Defendants did not violate the FCA, AKS,
                or Stark.

        Defendants assert that the Court should consider the United States’ decision not to

intervene in this qui tam as evidence that Relator’s allegations regarding violations of the

FCA, AKS, and Stark are unfounded. Motion at 2–3. But the United States’ decision not

to intervene in this case—or any case—does not mean that the United States found that

Defendants did not violate the FCA, AKS, or Stark, and it should not give rise to any

inferences regarding the merits of Relator’s claims here.




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        The United States’ Declination Notice makes no representation whatsoever

regarding the merits of Relator’s FCA, AKS, or Stark allegations. See ECF No. 24. Nor

does the Notice identify any specific finding resulting from the United States’

investigation. Id. The Notice provides only that the United States decided not to

intervene in this qui tam action. Id.

        There are numerous reasons that the United States might decline to intervene in a

qui tam that have nothing to do with the merits of the allegations. As the Fifth Circuit

explained in United States ex rel. Williams v. Bell Helicopter Textron Inc., Section 3730

of the FCA “does not require the government to [intervene in a qui tam] if its

investigation yields a meritorious claim. Indeed, absent any obligation to the contrary,

[the government] may opt out for any number of reasons.” 417 F.3d 450, 455 (5th Cir.

2005); see also, e.g., United States ex rel. Atkins v. McInteer, 470 F.3d 1350, 1360 n.17

(11th Cir. 2006) (“In any given case, the government may have a host of reasons for not

pursuing a claim.”); United States ex rel. Chandler v. Cook County Ill., 277 F.3d 969, 974

n.5 (7th Cir. 2002), aff’d 538 U.S. 119 (2003) (“There is no reason to presume that a

decision by the Justice Department not to assume control of the suit is a commentary on

its merits.”). For example, the government may decline to intervene when it has a reason

to believe that its “limited prosecutorial resources” would be better expended elsewhere.

Chandler, 277 F.3d at 974 n.5. Because of the myriad possible reasons the government

may decline to intervene in any particular qui tam action, the mere fact of declination

cannot support the conclusion that the violations alleged by a relator are without merit.

        Assigning probative weight to the government’s decision would also be


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inconsistent with the statutory scheme set forth by Congress in the FCA, which gives

relators the right to conduct the actions if the United States declines. See 31 U.S.C.

§ 3730(b)(1), (c)(3), (d); see also United States ex rel. Prather v. Brookdale Senior Living

Communities, Inc., 892 F.3d 822, 836 (6th Cir. 2018) (“[T]he False Claims Act is

designed to allow relators to proceed with a qui tam action even after the United States

has declined to intervene. If relator’s ability to plead sufficiently . . . were stymied by the

government’s choice not to intervene, this would undermine the purposes of the Act.”

(internal citations omitted)).

        For these reasons, the fact that the United States did not intervene in this qui tam

action should not give rise to any inference whatsoever regarding the merits of Relator’s

allegations.

        2.      The Court should evaluate the sufficiency of Relator’s AKS allegations
                under the well-established “one purpose” standard.

        The AKS prohibits the offering or paying of remuneration even if “only one

purpose” was to induce referrals of federal health care program business. United States

ex rel. Ruscher v. Omnicare, Inc., 663 F. App’x 368, 374 (5th Cir. Oct. 28, 2016). In the

Motion, Defendants acknowledge that “[o]nly ‘one purpose’ of the payment must be to

induce the referrals, i.e., to exercise influence over the reason or judgment of another in

an effort to cause the referral.” Motion at 8 (quoting United States v. McClatchey, 217

F.3d 823, 835 (10th Cir. 2000) (citing United States v. Davis, 132 F.3d 1092, 1094 (5th

Cir. 1998))). Elsewhere, however, Defendants seem to suggest that Relator must meet a

higher standard to avoid dismissal of the AKS claims. Specifically, Defendants assert



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that the Court must “believe that 100% of the payments” at issue were “made by

[Defendants] for the sole and unequivocal purpose of inducing each and every” referral.

Motion at 9 (emphases in original).2 The AKS requires no such showing. See, e.g.,

Davis, 132 F.3d at 1094; McClatchey, 217 F.3d at 835 (both rejecting the position that a

defendant’s sole motivation in making payments must be to induce referrals). The

United States requests that the Court apply the well-established “one purpose” standard

to assess the sufficiency of Relator’s AKS allegations.

                                         II.     Conclusion

        The United States respectfully requests that the Court take notice of the United

States’ views expressed in this Statement of Interest when considering the arguments

regarding the government’s non-intervention and the appropriate intent standard for AKS

violations. The United States otherwise takes no position on Defendants’ Motion,

Relator’s Complaint, or the sufficiency of Relator’s allegations under Rules 8 and 9 of

the Federal Rules of Civil Procedure.




2
  While unclear, Defendants may have intended to attack the plausibility of Relator’s allegations only.
Without clarification, however, Defendants’ assertion suggests that the Court apply an AKS standard that
is at odds with well-established precedent.



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                                                       Respectfully submitted,

                                                       CHAD E. MEACHAM
                                                       United States Attorney

                                                       /s/ Andrew S. Robbins
                                                       ANDREW S. ROBBINS
                                                       Assistant United States Attorney
                                                       New York Bar No. 4836508
                                                       1100 Commerce Street, Third Floor
                                                       Dallas, Texas 75242-1699
                                                       Telephone: 214-659-8600
                                                       Facsimile: 214-659-8807
                                                       andrew.robbins@usdoj.gov

                                                       Attorneys for the United States of
                                                       America


                                         Certificate of Service

        On July 29, 2022, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case

filing system of the court. I hereby certify that I have served all parties electronically or

by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                       /s/ Andrew S. Robbins
                                                       ANDREW S. ROBBINS
                                                       Assistant United States Attorney




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